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 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

        Your affiant, Angelo DeFeo, is a Special Agent assigned to Memphis Field Office-
Nashville Resident Agency In my duties as a special agent, I investigate domestic terrorism
violations and other threats of violent crime. Currently, I am a tasked with investigating criminal
activity in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized
by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On January 24, 2021 a concerned citizen, C-1, provided information to the FBI that the
person in Photo 1, a still of a video of an individual breaking a window of the Capitol with a riot
shield, was Bryan Wayne IVEY. On February 9, 2021, during a follow-up interview, C-1 stated
that Bryan Wayne IVEY is a close personal contact and he/she confirmed that he/she recognized
the person in the video as Bryan Wayne IVEY. C-1 stated that he/she spoke to IVEY on or around
January 6 and IVEY admitted to C-1 that he went inside the U.S. Capitol on January 6. C-1 also
stated that he/she had contact with another close contact of Bryan Wayne IVEY who had been
told, by IVEY, that IVEY was inside the U.S. Capitol on January 6.

        The video that C-1 viewed was posted on social media while a group of individuals were
attempting to break a window to enter the building. Photo 1 was taken from that video and C-1
immediately recognized IVEY as the individual with the brown jacket, brown hat, and sunglasses.
Additionally, C-1 stated during an interview that the video he/she viewed contained audio, and
he/she recognized IVEY’s voice on the video. IVEY was then seen on surveillance cameras inside
the US Capitol entering the building via the window that was broken. IVEY proceeds to a door
nearby and attempts to assist others in entering the building.




                                              Photo 1
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                           Photo 2
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                           Photo 3
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                           Photo 4
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                                           Photo 5

        Later, a person matching IVEY’s description can be seen in a Parler video, published by
the website propublic.org, inside the U.S. Capitol Rotunda walking around with what appears to
be a cell phone in his hand.
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                                             Photo 6

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Bryan Wayne IVEY violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
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person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that Bryan Wayne IVEY
violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                     _________________________________
                                                     Special Agent Angelo DeFeo
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 3rd day of March 2021.
                                                                   2021.03.03
                                                                   12:52:12 -05'00'
                                             ___________________________________
                                             HONORABLE ROBIN M. MERIWEATHER
                                             U.S. MAGISTRATE JUDGE
